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12                     UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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14    CITY OF IMPERIAL BEACH, et al.,           Case No. 3:18-cv-00457-JM-LL

15                         Plaintiffs,          ORDER GRANTING JOINT
16         vs.                                  MOTION TO CONTINUE
                                                SETTLEMENT CONFERENCE
17    THE INTERNATIONAL BOUNDARY                AND MODIFY RELATED DATES
18    & WATER COMMISSION – UNITED
      STATES SECTION, et al.,                   [ECF No. 75]
19

20                         Defendants.
21

22        The Court, having reviewed the Joint Motion to Continue Settlement

23   Conference and Modify Related Dates (“Motion”), and good cause appearing

24   therefore, ORDERS that:

25        1.     The Motion [ECF No. 75] is GRANTED.

26        2.     The settlement conference currently set for September 9, 2019 is

27               continued to October 16, 2019 at 9:30 A.M.

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       ORDER GRANTING JOINT MOTION TO CONTINUE SETTLEMENT CONFERENCE AND       18cv00457
                             MODIFY RELATED DATES
                                             1
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1         3.    The telephonic case management conference currently set for August
2               26, 2019 is continued to September 23, 2019 at 1:30 P.M.
3         4.    The date for the Parties to exchange documents discussed at the June
4               26, 2019 Settlement Conference is continued to September 6, 2019,
5               and the date to lodge documents with the Court is continued to
6               September 13, 2019.
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8    IT IS SO ORDERED.
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10   Dated: August 20, 2019
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       ORDER GRANTING JOINT MOTION TO CONTINUE SETTLEMENT CONFERENCE AND    18cv00457
                             MODIFY RELATED DATES
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